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                       Exhibit B
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                              GMAC BANK MASTER WHOLESALE AGREEMENT


                                       1. THE PARTIES TO TIllS AGREEMENT

This GMAC Bank Master Wholesale Agreement ("Master Agreement") is made by and between GMAC Bank and Off
Lease Only, Inc. (''Dealership'').

                                                   II. THE RECITALS

The essential facts relied on by GMAC Bank and Dealership as true and complete, and giving rise to this Agreement, are
as follows:

A     GMAC (formerly known as General Motors Acceptance Corporation and GMAC llC) provides wholesale
      accommodations to Dealership under the GMAC Wholesale Plan, pursuant to the agreements executed or which
      may be executed hereafter by Dealership in favor of GMAC, and any other documents evidencing the agreements
      between Dealership and GMAC, a nonexclusive list being attached as Exhibit "A" hereto ("GMAC Wholesale
      Financing Documents").

B.    In the ordinary course of its business, GMAC Bank provides wholesale financing accommodations to motor vehicle
       dealerships ("GMAC Bank Wholesale Accommodations").

C.    In addition to the wholesale accommodations GMAC provides to Dealership, Dealership desires GMAC Bank to
       provide Dealership with GMAC Bank Wholesale Accommodations. Subject to Subsection III.C.1.(b) below, such
       GMAC Bank Wholesale Accommodations may be in addition to financing accommodations GMAC provides to
       Dealership.

D.    GMAC Bank: is willing to provide GMAC Bank Wholesale Accommodations to Dealership in accordance with the
      terms and conditions of this Master Agreement and the GMAC Wholesale Financing Documents, which are
      amended pursuant to the provisions of Subsection III.C.I. below (individually and collectively "GMAC Bank
      Wholesale Financing Documents").

E.    For administrative convenience, Dealership wants to evidence its agreement to and acceptance of all terms and
      conditions of the GMAC Bank Wholesale Financing Documents for all intents and purposes by signing only this
      Master Agreement. Dealership acknowledges that it is not receiving copies of the GMAC Wholesale Financing
      Documents in connection with the signing of this Master Agreement, but that it has had the opportunity to review,
      and fully understands, such documents. Dealership specifically executes this Master Agreement in connection with
      floor plan financing which may be provided by GMAC Bank to Dealership.

                                                ID. TIlE AGREEMENT

In consideration of the Recitals above, and for other good and valuable consideration. the receipt and sufficiency of which
are hereby acknowledged, GMAC Bank and Dealership agree as follows:

A.    By signing this Master Agreement, Dealership agrees that the GMAC Wholesale Financing Documents, as amended
      by Subsection III.C.l. below, are incorporated into this Master Agreement by reference as though fully set forth in
      it.

      For avoidance of doubt, upon the execution of this Master Agreement, two separate groups of wholesale financing
      documents will be deemed to exist: the GMAC Wholesale Financing Documents, wherein GMAC is the lender,
      and the GMAC Bank Wholesale Financing Documents, wherein GMAC Bank is the lender.
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B.   Dealership's signature on this Master Agreement constitutes its signature on each of the GMAC Bank Wholesale
     Financing Documents, including in each signature block and any other part of any GMAC Bank Wholesale
     Financing Document that calls for Dealership's signature.

C.   By signing this Master Agreement,   Dealership:

     1.    Agrees to and accepts all provisions, terms, and conditions of each of the GMAC Bank Wholesale Financing
           Documents, except that such GMAC Wholesale Financing Documents are modified as follows:

           a.    Any reference to "GMAC", "General Motors Acceptance Corporation," "GMAC LLC," "GMAC
                 Inc.", or other name of GMAC in any of the GMAC Wholesale Financing Documents is amended to
                 read "GMAC Bank;"

           b.    The amount of the credit line established for Dealership and communicated to the Dealership from
                 time to time will be an aggregate amount for both GMAC and GMAC Bank. In no case will the
                 amounts outstanding under both the GMAC Bank's and GMAC's Wholesale Financing Documents
                 exceed the credit line initially established by GMAC.

     2.    Waives any right to disavow or otherwise challenge the validity or enforceability of any of the GMAC Bank
           Wholesale Financing Documents (in whole or in part) on the basis that such GMAC Bank Wholesale
           Financing Document does not contain the Dealership's signature, was not signed by an authorized signatory,
           or on any similar basis, provided, however, that the Dealership cannot be bound by any document, or term or
           condition therein, unless the Dealership, or an authorized signatory, has signed an identical document in favor
           of GMAC Bank or GMAC, as the case may be.

     3.    Agrees that from time to time, a portion of the principal amount, fees and other charges in connection with the
           GMAC Wholesale Plan maybe assessed by GMAC under the GMAC Bank Wholesale Financing Documents
           and will be paid by Dealership.

     4.    Agrees that the GMAC Bank Wholesale Financing Documents are executed in addition to the GMAC
           Wholesale Financing Documents and in consideration of future floor plan financing by GMAC Bank pursuant
           to these agreements and documents.

      5.   Agrees that:

           a.     GMAC Bank will not assume any obligation of GMAC to Dealership;          and

           b.     That GMAC Bank will not make any payment           to GMAC for any inventory      fmanced by GMAC or
                  otherwise; and

           c.     That it will not in any way take any actions which will have the direct or indirect effect of refinancing
                  GMAC~fmanced inventory with any funding provided by GMAC Bank.

D.   Dealership hereby appoints GMAC Bank as its attorney in fact and grants GMAC Bank a limited power of attorney
     to sign any of the GMAC Bank Wholesale Financing Documents on Dealership's behalf, as deemed necessary or
     appropriate by GMAC Bank for enforcement of any of the GMAC Bank Wholesale Financing Documents or
     related legal rights (''Power of Attorney") for the purpose of correcting manifest errors, signing documents that the
     Dealership had intended to sign, for perfecting security interests granted by the Dealer, and for endorsing checks
     and other instruments of payment where GMAC Bank is entitled to the proceeds of the check or other instrument
     under its agreements and/or applicable law.

      1.   This limited Power of Attorney continues until all of Dealership's   obligations to GMAC Bank have been fully
           and irrevocably paid.

      2.    This Power of Attorney is in addition to, and does not supersede, any other power of attorney or authorization
            granted to GMAC Bank under the GMAC Bank Wholesale Financing Documents or otherwise.
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E.    Dealership authorizes GMAC Bank to file financing statements and take any and all other actions necessary to
      perfect its security interest in Dealership's property, as granted under the GMAC Bank: Wholesale Financing
      Documents or otherwise.

F.    Nothing in this Master Agreement or any GMAC Bank Wholesale Financing Document constitutes a commitment
      by GMAC Bank to provide GMAC Bank Wholesale Accommodations or any other loans or credit accommodations
      to Dealership.

        1.    GMAC Bank Wholesale Accommodations         are expressly subject to the terms and conditions of the agreements
              under which they are extended.

       2.     GMAC Bank Wholesale Accommodations         are discretionary in nature and are subject to modification,
              suspension, and termination at GMAC Bank's election in its sole, absolute discretion.

G.    Dealership may not assign this Master Agreement (or any portion thereof) without GMAC Bank's written consent.
      Upon notice to Dealership, GMAC            Bank may assign this Master Agreement (or any portion thereof) without
      Dealership's consent to any affiliate or subsidiary of GMAC Bank or pursuant to a merger, reorganization, sale of
      all or substantially all of the assets of GMAC Bank or sale of sufficient stock to constitute a change of control. This
      Master Agreement will be binding on the parties and their respective successors and permitted assigns. In the event
      of an assignment of all or part of this Master Agreement to an affiliate or subsidiary of GMAC Bank pursuant to
      this Section G, (i) the performance and obligations that have been assigned to the affiliate or subsidiary are the
      exclusive responsibility of the entity to whom the performance and obligations were assigned and (ii) the affiliate or
      subsidiary has all of the rights and benefits of GMAC Bank. under the Master Agreement. Any assignment in
      violation of this Section will be void.

H.     For the avoidance of doubt, GMAC and GMAC Bank: are separate lenders and each has its own rights and
       obligations pursuant to its respective wholesale financing documents. Neither lender shall have responsibility or
       liability for the acts or omissions of the other lender.

I.                                    and   the   GMAC   Bank      Wholesale       Financing   Documents    are   effective   as   of

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Off Lease Only, Inc.
                                                          GMACBank

Signature:~'A'l'-"4---->\A- __

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                               Exhibit "A" to the GMAC Bank Master Wholesale Agreement

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          Wholesale Security Agreement
          Amendment to Wholesale Security Agreement
          Security Agreement
          Intercreditor Agreement with Manheim Automotive Financial Services
          Florida Addendum to Security Agreement




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